     Case 3:12-cr-00003-DHB-BKE Document 947 Filed 07/21/20 Page 1 of 2

                                                                                                I

                                                                                      U.S.OiSTP
                       IN    THE UNITED         STATES DISTRICT COURT
                                                                                            ALfGUS
                       FOR THE SOUTHERN DISTRICT OF GEORGIA „
                                          DUBLIN DIVISION



                                                                                 CLERK
                                                     'k
UNITED STATES         OF AMERICA


                                                     *
       V.                                                        CR 312-003-5
                                                     k


                                                     ■k
ANTONIO      SMILEY




                                             ORDER




       On    April        28,     2020,     this     Court       denied        Defendant        Antonio

Smiley's      motion        for     compassionate            release       under       18    U.S.C.      §

3582 (c) .     {Doc.      No.   942. )     At present.          Defendant has filed another

motion for compassionate release,                         this time alleging that he has

diabetes      without        submitting medical              evidence. 1         The    Government,

however, has submitted Defendant's medical records indicating that

he   does    not   suffer       from     diabetes.          (See generally Gov't Resp.                  in

Opp'n,      Doc.   No.      944 ,   Exs.    A    &   B;   Ex.    A,   at   1    (indicating           that

Defendant is pre-diabetic) . )                  In short.        Defendant bears the burden

of establishing that he is uniquely positioned to be so adversely




1
     The Court notes that Defendant still has not proven that he has
exhausted      his    administrative            remedies,         Instead,       it    appears        that
he   requested       to    be   released        to   home    confinement         under       the     CARES
Act, which is a different process than a reduction                                      in    sentence
("RIS") request based upon compassionate release.
  Case 3:12-cr-00003-DHB-BKE Document 947 Filed 07/21/20 Page 2 of 2




affected by COVID-19 that his release is warranted.               He   has   not


done    so.


        Upon the foregoing,   Defendant Antonio Smiley's motion for

compassionate release (doc. no. 943) is hereby DENIED^

        ORDER ENTERED at Augusta, Georgia, this                  ay of July,

2020.




                                                            /■




                                       UNITED   STATES   DISTRICT      JUDGE




                                   2
